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Notice of Appeal Criminal Rev. 3/88

United States District Court for the District of Columbia

UNITED STATES OF AMERICA )
) -21-CR-00542 (TJK
vs. ) Criminal No. 1:21-CR-00542 (THK)
Jonathan Owen Shroyer
NOTICE OF APPEAL

Name and address of appellant: jonathan Owen Shroyer
c/o Norm Pattis, Esq.

383 Orange St.
New Haven, CT 06524

Name and address of appellant’s attorney: Norman A. Pattis, Esq

Pattis & Associates, LLC
383 Orange Street

New Haven, CT 06511
Offense: 18 USC §1752(1)(1)

Concise statement of judgment or order, giving date, and any sentence:

Imposition of a 60-day sentence of incarceration on September 12, 2023.

Name and institution where now confined, if not on bail:
-pending assignment by Bureau of Prisons

I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.

Aepr. 19, 280223 /s/ Owen Shroyer /s/

DATE TLL R )
ATTORNEY FOR APPELLANT

GOVT. APPEAL, NO FEE

CJA, NO FEE

PAID USDC FEE

PAID USCA FEE vo

Does counsel wish to appear on appeal? ves[7| NO PH
Has counsel ordered transcripts? yYes|_| NO

Is this appeal pursuant to the 1984 Sentencing Reform Act? yves[/| NO [|
